                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,

                            Plaintiff,
v.                                                    Case No. 2:16-mj-11

DAVID KING BALDWIN,

                      Defendant.
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                                 ORDER OF DETENTION

         Defendant appeared before the undersigned on September 1, 2016 for an initial

appearance on the complaint and warrant. The government moved for detention which

was supported by recommendation of pretrial services. Defendant requested time to

prepare for a detention hearing.

         Defendant shall be detained pending further proceedings.


         IT IS SO ORDERED.

Dated:      9/2/2016                       /s/ Timothy P. Greeley
                                         TIMOTHY P. GREELEY
                                         U.S. MAGISTRATE JUDGE
